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IN _THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F VIRGINIA
Alexandria Division

lntersections Inc. and`Net Enforcers, Inc.,
Plaintiffs, Civil Action No. 1:09CV597 (LMB/TCB)

v.
Joseph C. Loomis and Jenni M. Loornis,

Defendants.

 

 

MEMORANDUM IN SUPPORT OF
OBJECTIONS TO AND MOTION TO STRIKE
SUPPLEMENTAL DECLARATION OF MICHELLE J. DlCKINSON

FILED UNDER SEAL

Respectfully submitted,

 

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Case 1:09-cv-00597-L|\/|B-TCB Document 160 Filed 07/30/10 Page 2 of 2 Page|D# 2103

CERTIFICATE ()F SERVICE

l hereby certify that on this 30th day of July, 2010, l have filed a true and correct copy of the
foregoing With the Clerk of Court via the CM/ECF efiling system Which Will send notification of
this filing to the following counsel of record:

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